
Pennington, J.
The action below Avas an action of debt, brought by Whitmore against Lyon, for two penalties under the apprentice act; one for counselling, aiding or enticing the apprentice from his master’s service; and another for harboring him after he was so enticed away. The acts disclosed by the state of demand, are, that Lyon agreed with Whitmore, that his son, Avho was about seventeen years of age, should work with Whitmore, for three years, for wages, to be paid to the father; that Whitmore was to teach the boy and employ him in and about the trade of a blaeksmith. I am not satisfied that this boy could with propriety be considered an apprentice. Apprentice is defined to be a young person bound by indenture, to a tradesman or artificer, who, upon certain covenants, is to teach him his mystery or trade: he certainly Avas not an apprentice under the act of Assembly, and I apprehend that the penalty created by the act is only applicable to an apprentice bound in conformity to the act respecting apprentices, or in conformity to the poor act, as it respects the binding out poor children. If, hoAvever, this agreement of the father is to be considered as creating an apprenticeship at common laAV, Avhich I very much doubt, [*] yet the act respecting apprentices, declares all promises and bargains for having, taking, or keeping any apprentice, void, so far as it respects the apprentice himself, not made in conformity to the act; that is, the boy is not an apprentice, but the father, notwithstanding, is bound by his OAim contract. If the boy Avas not an apprentice, the father could not have enticed him away as an apprentice, nor harbored him as such. The plaintiff below, in my opinion, has mistaken his remedy; he should have *415sued the father on his contract; for which reason, I think the judgment ought to be reversed.
Chetwood, for plaintiff.
Kirkpatrick, C. J.
The state of the case gives no ground of action. This was not an apprenticeship within the act, and therefore, the plaintiff has no claim to the penalty.
Ross ell, J. — Was of the same opinion.
Judgment reversed.
Cited in Fisher v. Lunger, 4 Vr. 100.
